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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      11/25/2019
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In re:
                                                                     03-MDL-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                    ORDER



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SARAH NETBURN, United States Magistrate Judge:

         Today, the Court issues a ruling on the Plaintiffs’ Executive Committees’ (“Plaintiffs”)

motion for reconsideration of the Court’s July 22, 2019 Opinion & Orders regarding: (1)

Plaintiffs’ motion to compel the Kingdom of Saudi Arabia (“Saudi Arabia”) to produce

documents and answers interrogatories; and (2) Saudi Arabia’s motion to modify the scope of

supplemental discovery. That ruling is filed under seal until the parties have had an opportunity

to meet-and-confer following the resolution of Plaintiffs’ Rule 72 objections to the Court’s

decision granting in part Saudi Arabia’s motion to seal. See ECF No. 4696.

SO ORDERED.



DATED:           November 25, 2019
                 New York, New York
